            Case 2:11-cr-00768-BRM           Document 114            Filed 02/27/12     Page 1 of 1 PageID: 69


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                                                     February 22, 2012


                 VIA ECF
                 Hon. Jose L. Linares, U.S.D.J.
                 U.S. District Court- N.J.
                 50 Walnut Street
                 Newark, NJ 07102

                                                       Re.: U.S. v. Jovany Clermont
                                                       Docket No.: 1 1cr768(JLL)


                 Dear .ludge Linares:

                        Please be advised that this office represents the above referenced &fendant. An
                 Order was entered by your Honor which requires defense motions to be filed by February
                 24, 2012.

                         I do intend on filing motions one of which is a Title III Motion to Suppress
                 Intercepted Wire Transmissions. I just received the affidavits request the authorization to
                 intercept the calls on February 21, 2012.

                        Thus, I am requesting an additional week to March 2, 2012 to file my motions and
                 thereby extending the Government’s time to respond to March 16, 2012.

                        I have the consent of my adversary AUSA Michael Robertson. Thank you for
                 your anticipated concern and cooperation.


                                                                                  Respectfully,



                                                                                  Anthony C. Mack, Esq.


                  cc: Michael Robertson, AUSA (via ECF)

                                                                   so
